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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

JOSEPH VELLALI et al.,
                                                     Civil Action No. 3:16-cv-01345-AWT
       Plaintiffs,
                                                     Hon. Alvin W. Thompson
v.

YALE UNIVERSITY et al.,

       Defendants.

      DEFENDANTS’ REPLY TO THEIR MOTION TO PROVISIONALLY SEAL
      PORTIONS OF THEIR SUMMARY JUDGMENT AND DAUBERT PAPERS

       On December 4, 2020, Defendants Yale University et al. (“Yale”) submitted a motion for

summary judgment and three motions to exclude Plaintiffs’ putative experts. In support of these

motions, Yale submitted (among other exhibits) Plaintiffs’ expert reports and deposition

transcripts. Based on Plaintiffs’ assertion that it would be “unfair” to make any of these expert

materials public, Yale agreed to move to seal these materials on a provisional basis so that

Plaintiffs could explain to this Court why they felt permanent sealing was appropriate.

Dkt. 282 (“Mot.”); see also Dkt. 283 (Declaration of Brian D. Netter, attaching sealed exhibits).

       In its motion for provisional sealing, Yale reserved the right to dispute the permanent

sealing of some or all of the materials once Plaintiffs had explained the basis for their position to

the Court. Mot. 3. On December 28, 2020, Plaintiffs filed their Response. Dkt. 291 (“Resp.”). On

January 8, 2021, the Court granted the motion to provisionally seal the documents, Dkt. 293, but

Yale does not understand the Court’s minute order to have resolved the appropriateness of

permanently sealing the materials.

       As explained below, Plaintiffs’ Response requests permanent sealing of nearly all of the

substantive analyses of their experts—a request that is wholly groundless under Second Circuit



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law. However, there may be discrete third-party information in the expert reports and deposition

that does meet the sealing standard. Yale takes no position on whether such third-party information

should be filed under seal, but believes the most efficient course is to give interested third parties

two weeks to file position statements on what portions of the materials, if any, should be filed

under seal.

I.     The Second Circuit’s Lugosch decision governs sealing of the materials in question.

       In this Circuit, a strong presumption of public access attends to judicial documents that are

filed in court. Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 121, 124-25 (2d Cir. 2006).

This principle, which is grounded in constitutional and common-law norms, reflects the interests

of non-litigants in understanding the decisions of federal courts and the evidence and arguments

that precipitated those decisions. The Lugosch standard does not apply to court filings on

procedural matters, for which the public interest is less weighty, or to documents that are never

filed in court, as to which protective orders routinely require confidential treatment.

       Plaintiffs do not dispute that the documents at issue here are judicial documents—nor could

they, as documents filed in support of summary judgment are, under Lugosch, quintessential

judicial documents.

       Plaintiffs do not dispute that there is a strong public interest in accessing these documents.

In fact, Plaintiffs’ argument is premised on a supposed fear that nonparties have relevant uses for

the documents at issue.

       Plaintiffs do not dispute that they have the burden to demonstrate a strong countervailing

interest in maintaining their expert materials under seal that overcomes the interests of the public.

They acknowledge that “[t]he party seeking to maintain judicial records under seal bears the

burden of proof.” Resp. 4.



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II.    Plaintiffs’ request for sealing does satisfy Lugosch and should be denied.

       Plaintiffs’ primary argument is that it would be “unfair” for the expert reports submitted

into evidence to be filed publicly on the Court’s docket unless every one of the documents

considered by the experts is made public under the protective order. As Plaintiffs put it, unless

“Yale and the third parties are willing to de-designate all the underlying documents upon which

our experts rely,” “our position is that [the reports and deposition transcripts] should be filed under

seal in their entirety.” Resp. 2-3 (emphasis added). Although that may be Plaintiffs’ position, it is

without support in this Circuit or elsewhere. Indeed, the position is so plainly indefensible that

Plaintiffs make no efforts to defend it.

       Instead, Plaintiffs pivot to a supposed compromise—agreeing to “consent” to the filing of

immaterial portions of their experts’ reports, like the experts’ biographies or background, but

almost none of their substantive analyses. Plaintiffs continue to maintain that the Court still should

“seal those portions of their experts’ reports and testimony that incorporate materials Defendants

have designated confidential.” Resp. 2; see generally Dkt. 291-1 (Resp. Ex. 1).

       For a variety of reasons, Plaintiffs’ fallback position does not come close to meeting the

Lugosch standard.

       A.      Counsel’s desire to prevent their experts from being impeached in unspecified
               future cases is not sufficient to overcome the strong presumption of access.

       Plaintiffs argue that public reports will place their experts in the “untenable” position of

having to defend their opinions “in other forums without having the ability to discuss the materials

that form the basis of those opinions.” Resp. 4. But that hardly helps Plaintiffs. For one thing,

Plaintiffs have no interest in how their experts’ opinions are used in other “forums.” In any event,

Plaintiffs have not identified where they expect their experts’ opinions to be utilized. Either the

opinion will not be deployed elsewhere (in which case Plaintiffs’ concern is speculative, see In re


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Parmalat Sec. Litig., 258 F.R.D. 236, 244 (S.D.N.Y. 2009) (“broad allegations of harm

unsubstantiated by specific examples or articulated reasoning fail to satisfy the test”)), or the

opinion is so relevant to another proceeding that Plaintiffs would need to demonstrate an interest

that would overcome the relevance of these opinions to other lawsuits.

       Presumably, Plaintiffs’ concern is that their experts will be impeached in other lawsuits

with inconsistencies in their reports and testimony. They say that it would be “unfair” (Resp. 2) to

their experts to have to answer for their testimony without being able to introduce information that

was not significant enough to appear in their reports but that, nonetheless, might dull the blow of

the impeachment. But Plaintiffs offer no reason why supposed “unfairness” to a paid expert—who

agreed in advance to be bound by the protective order (Dkt. 11 ¶ 5(c))—overcomes the public’s

presumptive right of access to judicial documents that are relevant to judicial proceedings. That an

expert does not wish to have his or her opinions questioned in other cases is simply not a legitimate

reason to hide the expert’s report from public scrutiny when it is directly relevant to a summary

judgment motion or motion to exclude. Cf. Sony Ericsson Mobile Commc’ns AB v. Delta Elecs.

Pub. Co. Ltd. (Thailand), 2009 WL 959639, at *2 (S.D.N.Y. Apr. 8, 2009) (“Delta’s primary

concern appears to be that the documents contain information damaging to its reputation, a concern

that, without more, does not warrant judicial protection.”).

       B.      Plaintiffs’ proposal is wildly overbroad.

       Even if Plaintiffs (or Plaintiffs’ experts) had some cognizable interest here, Plaintiffs seek

a remedy that is dramatically overbroad in three ways.

       First, if Plaintiffs fear that particular unfiled evidence will be relevant in future

proceedings, they could ask the Court to permit the use of that evidence in the future, if and when

it becomes relevant. The First Amendment does not permit overbroad remedies. See Lugosch, 435

F.3d at 124 (sealing order must be “narrowly tailored” to preserve specific higher values). Thus, it

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makes no sense to completely bar nonparty access to relevant information just because an ancillary

aspect might necessitate a future modification to a protective order.

       Second, Plaintiffs’ proposal for widespread sealing is dramatically more restrictive than

the degree of sealing courts have deemed appropriate in earlier ERISA cases brought by Plaintiffs’

counsel. In Cates v. Columbia University, for instance, Ms. Dominguez’s expert report was made

almost entirely public, with only four discrete redactions related to details about Ms. Dominguez’s

consulting firm. See Expert Report of Wendy Dominguez ¶¶ 10, 11, 13, 16 & Ex. 2 at 1, Cates v.

Columbia Univ., No.16-cv-6524 (S.D.N.Y.), Dkt. 258-2 (Apr. 29, 2019). In Cunningham v.

Cornell University, Ms. Dominguez’s expert report is public with no redactions. Expert Report of

Wendy Dominguez, Cunningham v. Cornell Univ., No. 16-cv-6525 (S.D.N.Y.), Dkt. 355-

2 (Oct. 4, 2019). Yet here Plaintiffs seek to seal hundreds of paragraphs of Ms. Dominguez’s

reports on the basis that they “incorporate” confidential-designated information. Plaintiffs cannot

claim that it is “unfair” to make public any details of Dominguez’s opinions in this case when

significant information on Dominguez’s similar opinions are already public in other matters.

       Third, Plaintiffs’ proposal seek to redact many parts of their expert reports that do not

meaningfully “incorporate” confidential material—or even cite confidential material at all. See

Broadspring, Inc. v. Congoo, LLC, 2014 WL 4100615, at *23 (S.D.N.Y. Aug. 20, 2014)

(concluding that there is “no reason” why papers that “contain only general descriptions of the

[confidential] documents rather than the confidential information itself” should be filed under

seal). For example, Plaintiffs contend that ¶¶ 39-166 of the report by their “cross-selling” expert

(Daniel Alexander) must be filed under seal. See Dkt. 291-1 (Resp. Ex. 1). But these 100+

paragraphs include many that cite only public documents, like Form ADVs filed with the SEC and

FTC notices, or that simply assert Alexander’s supposed understanding of the industry.



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E.g., Expert Report of Daniel Alexander (Dkt. 283-1) ¶¶ 41-43, 45, 78, 89, 142-45. As another

example, Plaintiffs contend that hundreds of paragraphs of Ms. Dominguez’s report must be

sealed, even those that simply analyze public information. E.g., Expert Report of Wendy

Dominguez (Dkt. 283-5) ¶¶ 220-226 (analyzing the Vanguard Diversified Equity Fund against

various benchmarks and peer groups); id. ¶¶ 370-374 (same for the CREF Global Equities

Account). There is no conceivable basis for sealing these parts of the expert reports.

       C.      Plaintiffs’ proposal lacks any support in case law.

       Unsurprisingly, given the above defects, Plaintiffs do not cite a single case that holds that

an expert’s “rel[iance]” (Resp. 2) on material that is confidential under a protective order precludes

the public filing of the expert’s opinions in connection with a summary judgment motion or motion

to exclude under Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 2786 (1993). Indeed,

the authority Plaintiffs single out as most “instructive” (Resp. 5) is not remotely on-point.

In Intermedics, Inc. v. Cardiac Pacemakers, Inc., 1998 WL 35253496 (D. Minn. July 7, 1998), the

court addressed a motion to amend a protective order to permit the disclosure of expert reports “to

the Defendant’s in-house engineers, scientists, and consultants” during discovery. Id. at *3-4.

No party in Intermedics asked the court to seal information filed in support of a motion for

summary judgment and thus keep that information from public access.1



1
  The other cases Plaintiffs cite (at Resp. 4) are equally inapposite. Crossman v. Astrue, 714 F.
Supp. 2d 284, 287 (D. Conn. 2009), urges “district court judges to guard against overzealous or
overbroad requests to seal records from public inspection.” Delta Air Lines, Inc. v. Bombardier,
Inc., 462 F. Supp. 3d 354, 359 (S.D.N.Y. 2020), denied a motion to seal where the party opposing
publicity “offer[ed] no legal citation in support of [its] airy statement” that sealing was required.
Pearlstein v. BlackBerry Ltd., 332 F.R.D. 117, 122 (S.D.N.Y. 2019), involved a request to de-
designate material designated as confidential under a protective order. Like Intermedics, it has
nothing to do with the filing of sealed information with a court. Kleftogiannis v. Inline Plastics
Corp., 411 F. Supp. 3d 216 (D. Conn. 2019), and Royal Park Investments SA/NV v. Wells Fargo
Bank, N.A., 2018 WL 739580 (S.D.N.Y. Jan. 10, 2108), hold merely that limited redactions of
material necessary to preserve important interests are permissible. In fact, in Royal Park, the court

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       D.      Yale has consistently applied confidentiality and sealing standards.

       Contrary to Plaintiffs’ assertion, Yale is not seeking to use confidentiality “as a sword and

a shield.” Resp. 4. Different standards apply to judicial documents and to documents that are

exchanged in discovery but not filed with the Court. The Local Rules state that “[a] confidentiality

order or a protective order entered by the Court to govern discovery shall not qualify as an order

to seal documents for purposes of this rule.” L.R. 5(e)(3). The protective order in this case likewise

provides that material “which becomes part of an official judicial proceeding or which is filed with

the Court is public” and “will be sealed by the Court only upon motion and in accordance with

applicable law, including Rule 5(e) of the Local Rules of this Court.” Dkt. 11 ¶ 14; see also Dodona

I, LLC v. Goldman, Sachs & Co., 119 F. Supp. 3d 152, 155 (S.D.N.Y. 2015) (“even if material is

properly designated as Confidential or Highly Confidential by a protective order governing

discovery, that same material might not overcome the presumption of public access once it

becomes a judicial document”).2

       Plaintiffs’ “sword and shield” accusation is also meritless because Yale submitted its own

expert reports with its summary judgment motions with minimal redactions. Specifically, in its

December 4 filings, Yale redacted its expert reports only insofar as they (1) referenced specific

documents or data that meet the sealing standard (such as current pricing or competitively sensitive

third-party information); or (2) referenced Plaintiffs’ own expert reports (based on Plaintiffs’ now-

abandoned contention that their reports had to be filed entirely under seal). See Expert Report of


criticized the plaintiff for over-redaction of “passages that are not directly derived from business-
sensitive documents.” 2018 WL 739580, at *19.
2
  Although it is immaterial to this motion, Yale currently is reviewing more than 500 documents
identified by Plaintiffs (see Resp. 3) to confirm whether any can be de-designated consistent with
the protective order’s requirements. Plaintiffs purport to base their sealing request on documents
designated confidential by third parties, as well, but to the best of Yale’s knowledge Plaintiffs not
have asked third parties to de-designate any documents or sought their input on these issues.

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John Chalmers (Dkt. 281-4); Expert Report of Glenn Poehler (Dkt. 281-11).Yale does not seek to

use confidentiality concerns to protect its own experts from public scrutiny, and Plaintiffs should

not do so either.

III.   The Court should give third parties an opportunity to state their position on sealing
       of third-party information.

       Because Plaintiffs do not come close to satisfying their burden under Lugosch and Local

Rule 5(e), their request to seal the bulk of their expert materials should be denied. Further, as

demonstrated by Yale’s decision to file much of its own expert reports publicly, Yale does not

believe that any of its information in Plaintiffs’ reports or transcripts warrants sealing.

       However, there may be discrete third-party information in the expert reports and deposition

transcripts that is competitively sensitive or otherwise meets the Lugosch standard. Accordingly,

Yale believes the most prudent course is to give notice to the third parties whose information is

contained in the reports and allow them two weeks to file statements as to what portions of the

expert reports, if any, should be filed under seal.3




Dated: January 11, 2021                                Respectfully submitted,

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 As described in the accompanying certificate of service, Yale is serving a copy of this reply on
counsel for TIAA, Aon, and Vanguard to ensure that those parties have notice of Yale’s position
and an opportunity to state their position to the Court.

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                                CERTIFICATE OF SERVICE

       I hereby certify that, on January 11, 2021, a copy of the foregoing was filed electronically

using the Court’s CM/ECF system, which will provide notice of the filing to all counsel of record.

       In addition, I hereby certify that, on January 11, 2021, a copy of the foregoing was served

via email on the following third-party counsel:

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